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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION




HOPE PANNELL,                  )                    Case No. 1:12 CV 1983
                               )
                               )                    JUDGE DONALD C. NUGENT
          Plaintiff,           )
                               )
          vs.                  )                    ORDER OF DISMISSAL
                               )
PORTFOLIO RECOVERY ASSOCIATES, )
                               )
          Defendant.           )



       Counsel has notified the Court that above captioned case has been dismissed with

prejudice. Counsel may file any additional documentation.

       Therefore, this case is dismissed with prejudice.

       IT IS SO ORDERED.


                                             _/s/Donald C. Nugent___
                                             DONALD C. NUGENT
                                             United States District Judge


DATE: _December 4, 2012_____
